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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

KEITH ROSE,                                        )
                                                   )
            Plaintiff,                             )
                                                   )
      vs.                                          )          Case No. 4:22 CV 99 JMB
                                                   )
ROBERT SCHULTE, et al.,                            )
                                                   )
            Defendant.                             )


JOINT MOTION FOR EXTENSION OF ALTERNATIVE RESOLUTION REFERENCE
                           DEADLINE

       COME NOW, the Parties, by and through undersigned counsel, and hereby request this

Court extend the deadline for alternative resolution reference deadlines. In support of this motion,

the parties state as follows:

       1.         On February 16, 2023, this Court entered its Amended Case Management Order

referring this matter for alternative dispute resolution on April 21, 2023, which must be concluded

by June 21, 2023. (See Doc. 66, ¶ 4).

       2.         The parties have agreed upon a mediator, namely Frank Neuner of Neuner

Mediation & Dispute Resolution Services, however, Mr. Neuner and the parties are not mutually

available for mediation until July 6, 2023.

       3.         Mr. Neuner has provided mediation services in this matter previously, and the

mediator is familiar with this matter.

       4.         The parties are working together to schedule the mediation of this matter with the

mediator, however, need additional time, up to and including July 15, 2023, to schedule and
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conduct the mediation. The mediation is tentatively scheduled for July 6, 2023, pending approval

from this Court.

       WHEREFORE, the parties respectfully request an extension of time to July 15, 2023, to

complete mediation in this matter.

                                                Respectfully submitted,

                                                DANA T. REDWING
                                                COUNTY COUNSELOR

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                                 CERTIFICATE OF SERVICE

          The undersigned certifies that a copy of the foregoing was sent by means of electronic

notification through the Court’s Electronic Notification system on May 5, 2023, to all parties of

record.
